Filed 11/28/17                                                 Case 14-02278                                                            Doc 531

     FORM EDC3071 Certificate of Notice (v.1.15)                                                                        14−02278 − C − 0

                    UNITED STATES BANKRUPTCY COURT
                         Eastern District of California
                                 Robert T Matsui United States Courthouse
                                         501 I Street, Suite 3−200
                                          Sacramento, CA 95814
                                             (916) 930−4400
                                         M−F 9:00 AM − 4:00 PM
                                         www.caeb.uscourts.gov



                                                     CERTIFICATE OF NOTICE

     In re
     Erik J. Sundquist and Renee Sundquist                                                                 Bankruptcy Case No.

                                                                                                         10−35624 − B − 13
                                                                                Debtor(s).

     Erik J. Sundquist
     et al.
                                                                                Plaintiff(s),
                                                                                                         Adversary Proceeding No.

     v.                                                                                                      14−02278 − C
     Bank of America, N.A.
     et al.                                                                                                  DCN:      ELG−1

                                                                                Defendant(s).

          The undersigned clerk in the Office of the United States Bankruptcy Court for this district hereby certifies that copies of
          the Notice of Appeal to the Bankruptcy Appellate Panel of the Ninth Circuit, filed on November 28, 2017, were
          transmitted to BNC for service today to the following parties at their respective addresses as shown in the Court's
          records.
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              Office of the General Counsel          1625 Eye St, NW
Filed 11/28/17                             Case 14-02278                     Doc 531
          200 McAllister St        Washington DC 20006
          San Francisco CA 94102
     Dated:                                      For the Court,
     11/28/17                                    Wayne Blackwelder , Clerk
